          Case 14-31229-sgj15        Doc 28      Filed 03/20/14      Entered 03/20/14 14:28:33           Desc
                                                    Page 1 of 1

                                                                                              U.S. BANKRUPTCY COURT
                                                                                            NORTHERN DISTRICT OF TEXAS


                                                                                               ENTERED
                                                                                            TAWANA C. MARSHALL, CLERK
                                                                                                THE DATE OF ENTRY IS
                                                                                              ON THE COURT'S DOCKET



 The following constitutes the ruling of the court and has the force and effect therein described.



  Signed March 19, 2014
______________________________________________________________________



BTXN 104b/105b (rev. 09/11)
                                    UNITED STATES BANKRUPTCY COURT
                                      NORTHERN DISTRICT OF TEXAS


In Re:                                                     §
MtGox Co., Ltd.                                            §    Case No.: 14−31229−sgj15
                                                           §    Chapter No.: 15
                                        Debtor(s)          §


                              ORDER FOR ADMISSION PRO HAC VICE
     The Court, having considered the Application for Admission Pro Hac Vice of Erin Elizabeth Broderick, to
represent MtGox Co., Ltd., related to document 21, ORDERS this application be:

    Granted − The Clerk of the District Court for the Northern District of Texas shall deposit the application fee to
the account of the Non−Appropriated Fund.

    Denied − The Clerk of the District Court for the Northern District of Texas shall return the admission fee to the
applicant.

                                               # # # End of Order # # #
